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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

In re:

Margareth Santos,                                     Case No. 23-19975-CLC

                                                      Chapter 13
              Debtor.


           TRUSTEE'S MOTION TO REDIRECT PAYMENT OF
     DEPARTMENT OF THE TREASURY- INTERNAL REVENUE SERVICE
        AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

         Nancy K. Neidich, Standing Chapter 13 Trustee, files the instant Motion to

Redirect Payment and states as follows:

         1.     The Confirmed Chapter 13 Plan lists unsecured priority payments to

The Department of the Treasury-Internal Revenue Service totaling $3,975.21

[ECF No. 26].

         2.     The Department of the Treasury- Internal Revenue Service has filed an

amended Proof of Claim No. 1-2 providing the total amount of unsecured priority claim

to be $3,657.21.

         3.     The Trustee seeks authorization to redirect any unsecured priority plan

payments designated to the Department of the Treasury- Internal Revenue Service above

the amounts listed in Proof of Claim No. 1-2 to be paid pro-rata to general unsecured

creditors, or, if none, to the Debtor(s).
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         WHEREFORE, the Trustee requests the Court enter an order allowing the

Trustee to redirect priority plan payments designated to the Department of the Treasury-

Internal Revenue Service above the amounts listed in Proof of Claim No. 1-2 to be paid

pro-rata to general unsecured creditors, or, if none, to the Debtor(s) and for any further

relief the Court deems necessary.

                                               Respectfully submitted:
                                               NANCY K. NEIDICH,
                                               Sta~~ng C~apter 13 Tr~stee

                                       By:        N1!U CL m~o~I
                                                 KENIA MOLINA, ESQ.
                                                 FLORIDA BAR NO: 0085156
                                                 P.O. BOX 279806
                                                 MIRAMAR, FL 33027
                                                (954) 443-4402
Dated:   _\~Q{--1-;i--=l2~02---..~--
                            CERTIFICATION OF SERVICE

         I certify that a true and correct copy of the foregoing was served on
   \0 { rf {2.0Z'f              ,via CM/ECF on Debtor(s) attorney and:
By regular U.S. mail:


Department of the Treasury-Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346
(POC 1-2)

Internal Revenue Service
801 Broadway, M/S MDP 146
Nashville, TN 37203
(POC 1-2)

Honorable Merrick B. Garland
United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, DC 20530-0001
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Miami, FL 33130




                                              NANCY K. NEIDICH,
                                              Standing Chapter 13 Trustee

                                     By:       ~tLffiGl{1~1
                                               KENIA MOLINA, ESQ.
                                               FLORIDA BAR NO: 0085156
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